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WESTERN DlvisioN

 

CHARLES MCAULEY ADAMS,

Plaintiff,
v. No. 03-2975 B
LINCOLN ALLISON REES HODGES, et al.,

Defendants.

 

ORDER TO SHOW CAUSE WHY DEFENDANT SHELBY COUNTY'S
MOTION FOR SUMMARY ]UDGMENT SHOULD NOT BE GRANTED

 

This lawsuit Was brought by the Plaintiff, Charles McAuley Adams, Who is represented by
counsel, on December 24, 2003, alleging causes of action against numerous defendants, many of
Which have since been dismissed On April 12, 2005, the Defendant Shelby County, Tennessee
moved for summary judgment pursuant to Rule 56 of the F ederal Rules ofCivil Procedure. To date,
the Plaintiff has failed to respond to the dispositive motion, even though the deadline for such
response under the Local Rules of this district has expired _S_ee LR?.Z(a)(Z) (responses to Rule 56
motions must be filed within 30 days of service of the motion). lndeed, there has been no activity
Whatever in this case since the motion Was flled.

Accordingly, as it appears to the Court that Adams and his counsel have chosen not to pursue
the claims against this Defendant, the Plaintiff is ORDERED, Within fifteen (15) days of the entry
hereof, to show cause Why the motion for summary judgment should not be granted Failure of the
Plaintiff to respond in a timely manner to this order may result in dismissal of his claims against

Shelby County.

This document entered on the docket/sheet in compliance

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IT IS SO ORDERED this l <$<g\day of Ma , 2005.

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J. D NIEL BRE`EN \
uN ED sTATEs DISTRICT JUDGE

 

May 19, 2005 to the parties listedl

Notice of Distribution

This notice confirms a copy of the document docketed as number 51 in
case 2:03-CV-02975 Was distributed by faX, mail, or direct printing on

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Honorable .l. Breen
US DISTRICT COURT

